Case 1:13-cv-00358-GMS Document 18 Filed 07/29/13 Page 1 of 2 PagelD #: 163

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

MARSHA SCHERER, derivatively on behalf
of DIODES INCORPORATED,

Plaintiff,
V.
KEH-SHEW LU, et al., Case No. 13-cv-358 (GMS)

Defendants,
-and-

DIODES INCORPORATED, a Delaware
Corporation,

Nominal Defendant.

 

 

 

PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES AND
REIMBURSEMENT OF EXPENSES

Plaintiff, by and through her undersigned counsel, hereby moves for an award of
reasonable attorneys’ fees and reimbursement of expenses on account of the substantial benefit
conferred on Diodes Incorporated and its shareholders as a result of this litigation (the
“Motion”). The grounds for the Motion are set forth in Plaintiffs opening brief filed
contemporaneously herewith.

WHEREFORE, Plaintiff respectfully requests that the Court award Plaintiff's counsel
attorneys’ fees and expenses in the aggregate amount of $1,990.045.

Dated: July 29, 2013 Respectfully submitted,
/s/ Brian E. Farnan oe
Brian E. Farnan (Bar No. 4089)
Michael J. Farnan (Bar No. 5165)

FARNAN LLP
919.N. Market Street, 12"" Floor
Case 1:13-cv-00358-GMS Document 18 Filed 07/29/13 Page 2 of 2 PagelD #: 164

Wilmington, Delaware 19801
Tel: (302) 777-0300

Fax: (302) 777-0301
bfarnan@farnanlaw.com

Of Counsel:

LEVI & KORSINSKY, LLP
Eduard Korsinsky

Steven J. Purcell

30 Broad Street, 24" Floor
New York, New York 10004
Tel: (212) 363-7500

Fax: (212) 363-7171

Attorneys for Plaintiff
